         Case 1:21-cr-00725-RDM Document 24 Filed 02/09/22 Page 1 of 3


                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,                        :   CRIMINAL NO.: 21-cr-725-RDM
                                                  :
                    Plaintiff,                    :   MAGISTRATE NO.: 21-mj-685/22-mj-19
                                                  :
              v.                                  :   VIOLATIONS:
                                                  :
 JARED SAMUEL KASTNER,                            :   18 U.S.C. § 1752(a)(1)
 LUKE FAULKNER,                                   :   (Entering and Remaining in a Restricted
 KENNETH DUNCAN MASSIE,                           :   Building or Grounds)
                                                  :   18 U.S.C. § 1752(a)(2)
                    Defendants.                   :   (Disorderly and Disruptive Conduct in a
                                                  :   Restricted Building or Grounds)
                                                  :   40 U.S.C. § 5104(e)(2)(D)
                                                  :   (Disorderly Conduct in a Capitol
                                                  :   Building)
                                                  :   40 U.S.C. § 5104(e)(2)(G)
                                                  :   (Parading, Demonstrating, or Picketing in
                                                  :   a Capitol Building)
                                                  :

                                     INFORMATION

       The United States Attorney charges that:

                                          COUNT ONE
       On or about January 6, 2021, in the District of Columbia, Jared Samuel Kastner, Luke

Faulkner, and Kenneth Duncan Massie, did unlawfully and knowingly enter and remain in a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President was temporarily

visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))

                                          COUNT TWO

       On or about January 6, 2021, in the District of Columbia, Jared Samuel Kastner, Luke

Faulkner, and Kenneth Duncan Massie, did knowingly, and with intent to impede and disrupt
         Case 1:21-cr-00725-RDM Document 24 Filed 02/09/22 Page 2 of 3


the orderly conduct of Government business and official functions, engage in disorderly and

disruptive conduct in and within such proximity to a restricted building and grounds, that is, any

posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President was temporarily visiting, when and so that such conduct did in

fact impede and disrupt the orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                        COUNT THREE
       On or about January 6, 2021, in the District of Columbia, Jared Samuel Kastner, Luke

Faulkner, and Kenneth Duncan Massie, willfully and knowingly engaged in disorderly and

disruptive conduct in any of the Capitol Buildings with the intent to impede, disrupt, and disturb

the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct

in that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




                                                 2
         Case 1:21-cr-00725-RDM Document 24 Filed 02/09/22 Page 3 of 3


                                        COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, Jared Samuel Kastner, Luke

Faulkner, and Kenneth Duncan Massie, willfully and knowingly paraded, demonstrated, and

picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))



Date: February 9, 2022
                                            Respectfully submitted,
                                            MATTHEW GRAVES
                                            UNITED STATES ATTORNEY


                                     By:    /s/ Laura E. Hill                           .
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